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                       UNITED STATES DISTRICT COURT

                 FOR THE EASTERN DISTRICT OF LOUISIANA


CATHERINE BROWN                                        CIVIL No.       21-1844

versus                                                 JUDGE:          JTM

MINYANGO TOKPAH, SHAKIM HARRIS,                        MAGIS:           JVM
TANISHA WRIGHT, ANDREA MICHELLE
STEWART, JONTE MILLER, and
THERESA D. BRUNSON

                                       ORDER

      Considering the foregoing (Doc. 63),

     Plaintiff CATHERINE BROWN’s Petitioner’s Ex Parte Motion for Leave to File

Signed Affidavit to File and Replace Unsigned Affidavit of Plaintiff (Rec. Doc. #62-3),

filed by Plaintiff in Support of her Opposition to Defendants’ Motion to Dismiss (Rec.

Doc. #51)., is GRANTED.

SIGNED, New Orleans, Louisiana, this 21st day of July, 2022




                                    _______________________________________
                                           HON. JANE TRICHE MILAZZO
                                         UNITED STATES DISTRICT JUDGE
